         Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 1 of 11



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                EASTERN DIVISION

 PARENTS DEFENDING EDUCATION,
                        Plaintiff,
 v.

 WELLESLEY PUBLIC SCHOOLS, et al.,                   Case No. 1:21-cv-11709-ADB
                        Defendants.



                                      NOTICE OF DISMISSAL

        Plaintiff, Parents Defending Education, Inc., hereby voluntarily dismisses its complaint with

prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). Each party will bear its own costs, expenses, and

attorney’s fees.




                                                 1
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 2 of 11



Dated: February 7, 2022              Respectfully submitted,


                                     /s/ J. Michael Connolly

                                     J. Michael Connolly (pro hac vice)
                                     Taylor A.R. Meehan (pro hac vice)
                                     James F. Hasson (pro hac vice)
                                     CONSOVOY MCCARTHY PLLC
                                     1600 Wilson Blvd., Ste. 700
                                     Arlington, VA 22209
                                     (703) 243-9423
                                     mike@consovoymccarthy.com
                                     taylor@consovoymccarthy.com
                                     james@consovoymccarthy.com

                                     Patrick Strawbridge (BBO #678274)
                                     CONSOVOY MCCARTHY PLLC
                                     Ten Post Office Square
                                     8th Floor South, PMB #706
                                     Boston, MA 02109
                                     (617) 227-0548
                                     patrick@consovoymccarthy.com

                                     Counsel for Plaintiff




                             2
         Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 3 of 11




                                 CERTIFICATE OF SERVICE
       I certify that on February 7, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF System, which will automatically send e-mail notification to all counsel of record.



                                                                /s/ J. Michael Connolly




                                                 3
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 4 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 5 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 6 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 7 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 8 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 9 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 10 of 11
Case 1:21-cv-11709-ADB Document 52 Filed 02/07/22 Page 11 of 11
